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Verizon Commitment
and Values
The Verizon commitment is to put our customers first by providing
excellent service and great communications experiences. This is
what we do and this is why we exist. By focusing on our customers
and being responsible members of our communities, we will
produce a solid return for our shareowners, create meaningful
work for ourselves and provide something of lasting value for
society. As a result, Verizon will be recognized as a great company.

In order to keep this commitment, we need to always honor our
core values:


Integrity
Integrity is at the heart of everything we do. We are honest, ethical
and upfront because trust is at the foundation of our relationships
with our customers, our communities, our stakeholders and each
other.


Respect
We know it is critical that we respect everyone at every level of our
business. We champion diversity, embrace individuality and listen
carefully when others speak.


Performance Excellence
We hold ourselves to a very high standard of performance. We
prize innovative ideas and the teamwork it takes to make them
realities. We never stop asking ourselves how we can make the
customer experience better, and every day we find an answer.


Accountability
We take responsibility for our actions as individuals, as team
members, and as an organization. We work together, support one
another and never let the customer—or our coworkers—down.

Great companies are judged by what they do, not by what they say.
To be the best, we’re going to keep pushing ourselves in new and
exciting directions. These values will guide our every action.
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We are Verizon.
We have work because our                                    We believe integrity is at
customers value our                                         the core of who we are.
high-quality communications                                 It establishes the trust that is critical to the
services.                                                   relationships we have. We are committed to do
                                                            the right thing and follow sound business
We deliver superior customer experiences through            practices in dealing with our customers,
our products and our actions. Everything we do we           suppliers, owners and competitors. Our
build on a strong network, systems and process              competitors are not enemies; they are
foundation. The quality and reliability of the products     challengers who drive us to improve. We are
we deliver are paramount. Customers pay us to               good corporate citizens and share our success
provide them with services that they can rely on.           with the community to make the world in which
                                                            we work better than it was yesterday.

We focus outward on the
customer, not inward.                                       We know that bigness is
We make it easy for customers to do business with           not our strength, best is
us, by listening, anticipating and responding to their      our strength.
needs. We know our products and can explain them
to customers. We focus on fundamental execution.            Bureaucracy is an enemy. We fight every day to
We are accountable and we follow through with a             stay “small” and keep bureaucracy out. We are
sense of urgency. We know that having the highest           more agile than companies a fraction of our
ethical standards is a competitive advantage.               size, because we act fast and take risks every
                                                            day. We see crisis and change as opportunities,
                                                            not threats. We run to a crisis, not away.
We know teamwork enables us                                 Change energizes us. We work hard, take
                                                            action and take personal accountability for
to serve our customers better                               getting things done. Our actions produce
and faster.                                                 measurable results.
We embrace diversity and personal development not
only because it’s the right thing to do, but also
because it’s smart business. We are driven not by ego
                                                            Everything we do is built on
but by accomplishments. We keep our commitments             the strong foundation of
to each other and our customers. Our word is our            our corporate values.
contract. We respect and trust one another,
communicating openly, candidly and directly since any       We work 24x7 because our customers
other way is unfair and a waste of time. We voice our       depend on us 24x7. We know our best was
opinion and exercise constructive dissent, and then         good for today. Tomorrow we’ll do better.
rally around the agreed-upon action with our full
support. Any one of us can deliver a view or idea to
anyone else, and listen to and value another’s view
regardless of title or level. Ideas live and die on their
merits rather than where they were invented.




Integrity.          Respect.              Performance Excellence.                  Accountability.
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Dear colleague,

                                                                                     Our Commitment:
In the words of the Verizon Credo, integrity is at the core of who we are. It’s
                                                                                     Customers First
one of our foundational values and a crucial factor in establishing the trust that
underlies our relationships with customers, suppliers and colleagues. For us to
be successful in the digital marketplace, we must make sure the Verizon brand        Our Core Values:
is synonymous with trust, integrity and the highest of ethical standards.
                                                                                     •   Integrity

                                                                                     •   Respect
Each of us is accountable for living up to these high standards every day, in all
                                                                                     •   Performance Excellence
our actions. In a complex business environment, however, it is not always
obvious what the right course of action is. That’s why we have the Verizon           •   Accountability

Code of Conduct as a resource on ethical business practices. Together with
the Credo, the Code of Conduct is a guide for navigating the kinds of business
situations we confront every day and arming us with the tools we need to make
good decisions as we do our jobs.


I urge you to review the Code thoroughly and discuss it with your co-workers.
Of course, no one document can cover every situation that will arise in the
course of your job. Therefore, you can and should take up any questions or
concerns with your supervisor, your Human Resources representative, the
Ethics Office or the Legal Department.


You and I are responsible for Verizon’s reputation. I know I can count on you to
put integrity and ethical business practices at the center of what you do.



Sincerely,




Lowell C. McAdam
Chairman and Chief Executive Officer




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Introduction1

Our Expectations and Values
Sustain a Culture of Integrity
This Code of Conduct is a statement of the principles and expectations that guide ethical    Great companies are judged by what
business conduct at Verizon. Verizon requires all employees to use their judgment, to be     they do, not by what they say.
accountable for their actions and to conduct business with integrity.

This Code of Conduct reflects our changing business environment and has been
approved by the Verizon Board of Directors. In addition to governing conduct by              We pursue company goals solely
employees, this Code governs conduct between employees and customers, competitors            through ethical and professional
and the numerous business providers (including suppliers, vendors, contractors and           conduct.
agents) who assist Verizon every day. Because we want our business providers,
customers and investors to understand how we do business and what they can expect of
us, this Code appears on the Verizon website and is available to the public.

You may never violate this Code or any company policy even if a supervisor directs you
to do so. If you receive such a request, you should advise your supervisor that the
request violates the Code. If your supervisor refuses to modify his or her request, you
should contact the VZ Compliance Guideline immediately.

Failure to comply with any provision of this Code or company policy is a serious violation
and may result in disciplinary action, up to and including termination of employment, as
well as civil or criminal penalties. These consequences may apply not only to employees
who commit misconduct, but also to those who condone misconduct, fail to report or take
reasonable measures to prevent, detect and address misconduct or seek to retaliate
against those who report potential misconduct.




Set the Tone at the Top
Build Trust and Credibility
                                                                                             • Read the Code
We earn credibility with our customers, business providers and co-workers by keeping
our commitments, acting with honesty and integrity and pursuing our company goals            • Understand the Code
solely through ethical and professional conduct.                                             • Utilize Available Resources
If you are a supervisor, you have the added responsibility of creating an open and           • Comply with the Code
supportive environment where employees feel comfortable asking questions, raising
concerns and reporting misconduct. Ethical behavior does not simply happen; it is the
product of clear and direct communication of behavioral expectations, modeled from the
top and demonstrated by example.




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                                Speak Up
Report all suspected
violations of this Code.
                                Do the Right Thing Because it’s the Right Thing to Do
                                At Verizon, we have an open door policy. Everyone should feel comfortable speaking his or her
VZ Compliance                   mind, particularly with respect to ethical concerns. You must report suspected and actual violations
Guideline                       of this Code, company policy and the law. Verizon will investigate reported instances of
844 VZ GUIDE                    questionable or unethical behavior.

844.894.8433 (U.S.)             In deciding whether a violation of the Code has occurred or is about to occur, you should first ask
(+)800.0.624.0007               yourself:
(International)                     •       Could this conduct be viewed as dishonest, unethical or unlawful?
verizonguideline.com                •       Could this conduct hurt Verizon? Could it cause Verizon to lose credibility with its
vzguide@verizon.com                         customers, business providers or investors?

                                    •       Could this conduct hurt other people, such as other employees, investors or customers?

                                If the answer to any of these questions is “yes” or even “maybe,” you have identified a potential
                                issue that you must report.


                                Where to Report
                                You Are Accountable
                                Anyone may submit an anonymous or confidential complaint or inquiry by calling the VZ
                                Compliance Guideline or going on-line at verizonguideline.com. If you have questions regarding
                                any of the laws discussed in this Code, you should contact the Legal Department.

                                Imminent Danger or Illegal Conduct
                                You must immediately report any instance of violence, hostile behavior, possession of weapons or
                                any component of a weapon on company property, or related illegal conduct to Security and a
                                supervisor. In cases of imminent danger, you should contact 911 or local law enforcement first, and
                                then contact Security at 800.997.3287 (U.S.) or 972.615.4343 (International).

Harassment or discrimination
                                Discrimination or Harassment
of any kind is not tolerated.
                                If you believe you are a victim of or a witness to discrimination or harassment, you must report it to
                                your supervisor, Human Resources or make a confidential contact to the VZ Compliance Guideline.
                                If your complaint is about your supervisor or you are otherwise uncomfortable reporting your
                                complaint to him or her, you should report it directly to Human Resources or the VZ Compliance
                                Guideline. You may also address suspected discrimination or harassment directly with the person
                                engaging in such conduct if you are comfortable doing so and you believe the conduct is
                                unintentional.

                                Accounting, Internal Accounting Controls or Auditing Complaints
                                You must report any concerns or questions you have about the accuracy or integrity of Verizon’s
                                financial statements, reporting, accounting, internal accounting controls or auditing matters to
                                Internal Audit at AccountingComplaints@verizon.com or to the VZ Compliance Guideline.




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Confidential Reporting and No Retaliation
                                                                                                            You must adhere to the Code of
Reports and complaints will be kept confidential to the extent permitted by law and by the
                                                                                                            Conduct and fully cooperate with all
company’s need to investigate the situation.
                                                                                                            investigations relating to Verizon.
Verizon prohibits retaliation against employees for submitting or participating in the
investigation of any complaints. If you believe you or others are the subject of retaliation
for reporting suspected misconduct or participating in an investigation, you must report                    Verizon will not tolerate retaliation
the matter to the VZ Compliance Guideline or the Legal Department.                                          against employees for reporting
                                                                                                            suspected misconduct or providing
Cooperation with Investigations                                                                             information as part of an investigation.
You must cooperate completely in any investigation relating to Verizon. You must be
honest and forthcoming at all times during an investigation, and you must provide any
investigator with full, accurate, timely and truthful information. Misrepresenting facts or
failing to disclose facts during an investigation is strictly prohibited. You may never
interfere with or obstruct an investigation conducted by the company, by any third party
on the company’s behalf or any government agency.

If a police officer, other law enforcement personnel or government employee from any
agency (except for environmental, health and safety agencies which are addressed in
Section 1.4 of the Code) requests access to company premises or to company or
customer information, you must immediately notify the Legal Department for appropriate
guidance. Any documents, information or testimony you provide in response to a request
by a government agency must be full, fair, accurate and timely, and reviewed in advance
by the Legal Department. If you discover or suspect any misrepresentation,
misstatement, misunderstanding, omission or other mistake by yourself or another
employee, you must immediately disclose it to the Legal Department so that the company
can take prompt steps to remedy the situation. The requirements of this subsection do
not apply to providing information or testimony, in your individual capacity, to a
governmental body or agency on behalf of yourself or co-workers where protected by
applicable law.



A Quick Reference Chart with all the important contact information appears at the end of
this Code.




1
 You are required to comply with this Code as a condition of continued employment. This Code does not
give you rights of any kind, and may be changed by the company at any time without notice to you.
Employment with Verizon is “at will,” which means that you or Verizon may terminate your employment, at
any time, with or without cause, with or without notice, for any reason not prohibited by law, unless
governed by a collective bargaining agreement or specific contract of employment. This at will employment
relationship may not be modified except in a written agreement signed by an authorized Verizon officer.
This Code sets forth policies and practices applicable to all Verizon employees.




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                              Maintaining an Inclusive, Fair and Healthy
                              Work Environment
                              Verizon employees must act with fundamental honesty and integrity in all company dealings, comply
  Section                     with all laws that govern our business, maintain an ethical and professional work environment and
                              comply with all company policies. Verizon employees are required to treat customers, fellow
                              employees and vendors with respect, dignity, honesty, fairness and integrity.


                              1.1 Diversity and Equal Opportunity Commitment
You must treat all
customers, fellow             At Verizon, diversity means embracing differences and promoting an inclusive organization that

employees and vendors         values the diversity of employees, customers, suppliers and community partners because it’s the

with respect, dignity,        right thing to do and drives business success.

honesty, fairness and         Verizon is committed to attracting, developing and retaining a highly qualified, diverse and dedicated
integrity.                    work force. It is Verizon’s policy to comply fully with all laws providing equal opportunity to all persons
                              without regard to race, color, religion, age, gender, sexual orientation, gender identity and
                              expression, national origin, disability, marital status, citizenship status, veteran status, military status
Diverse minds, experiences,
                              or any other protected category under applicable law. For company business, Verizon will use
cultures and perspectives
                              facilities, sponsor events or maintain memberships only at businesses or organizations that do not
help us better serve our
                              have exclusionary membership practices.
customers.

                              1.2 Discrimination and Harassment
You may never view or
display any pornographic,     Verizon has a policy of zero tolerance for discrimination, sexual harassment or other harassment
obscene or offensive          based on race, color, religion, age, gender, sexual orientation, gender identity and expression,
material through company      national origin, disability, marital status, citizenship status, veteran status, military status or any other
systems, on company or        protected category under applicable law. Harassment includes but is not limited to, racist, sexist or
customer premises or in       ethnic comments, jokes or gestures, or any conduct or statement creating an intimidating, hostile or
company vehicles.             offensive work environment.

                              Any unlawful discrimination or harassment must be brought to the attention of your supervisor,
Q. My supervisor              Human Resources or the VZ Compliance Guideline. If your complaint is about your supervisor or you
                              are otherwise uncomfortable reporting your complaint to him or her, you should report it directly to
requires the team to meet
attendance targets and        Human Resources or the VZ Compliance Guideline. You may also address suspected discrimination
quality goals. Every month    or harassment directly with the person engaging in such conduct if you are comfortable doing so and
there is another              you believe the conduct is unintentional.
requirement. Isn’t this
harassment?                   1.3 Workplace Violence

A. It is not considered
                              Verizon will not tolerate any threatening, hostile or abusive behavior in the workplace, while operating
                              company vehicles or on company business, or by any persons on company property, and will take
harassment for                immediate and appropriate action against offenders, up to and including termination of employment
management to enforce         and referral for criminal prosecution. Nor will Verizon tolerate threatening, hostile or abusive conduct
job performance               directed at employees or customers by Verizon personnel at any time or place. Damage to property
requirements in a fair        is also prohibited.
and consistent manner.
                              Unless local law expressly permits possession of a weapon in a locked personal vehicle on company
                              property, you may not possess or use any weapon or any component of a weapon (e.g. ammunition)
                              on company property. You must report any instance of violence, hostile behavior or possession of
                              weapons on company property to Security and a supervisor immediately. In cases of imminent
                              danger, you should contact 911 or local law enforcement first, and then contact Security.

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Domestic violence can also adversely affect workplace safety. If you are the victim of such violence,
you should notify the police and Security of any person who may affect your safety or the safety of
your fellow employees. You can also contact the Employee Assistance Program for further
assistance (see Quick Reference Chart for contact information on pages 37-38).


1.4 Workplace Safety and Environment
                                                                                                         Perform your job in a safe
Verizon is committed to providing a safe workplace for all employees and meeting its environmental       and environmentally
responsibilities. You must perform your job in a safe and environmentally responsible manner in          responsible manner.
compliance with applicable Verizon policies and practices and the law.

If you believe that a safety, health or environmental hazard exists, that there has been a release of
any hazardous substance, or that safety, health or environmental guidelines are not being followed,
you must immediately report the situation to your supervisor. Where you are unable to reach your
supervisor directly or there has been a release or imminent release of any hazardous substance,
you must also immediately contact the safety and environmental management organization at
800.386.9639.

If you are a supervisor, you must also ensure that your direct reports are trained on the safety and
environmental practices applicable to each of their jobs and implement and enforce all applicable
regulations and policies. You must investigate all safety, health and environmental issues that come
to your attention, and refer any issues of potential noncompliance to your supervisor and the safety
and environmental management organization.

If you believe that your supervisor has failed to take appropriate action to remedy a condition which
is unsafe or in violation of any law or safety, health and environmental practice, you must contact a
representative of the safety and environmental management organization.

Verizon is required to record and report work-related accidents. If you are involved in a work-related
accident, you must immediately report it to a supervisor and follow the company’s policies for
reporting accidents and injuries.

Government agencies may conduct periodic inspections for compliance with safety, health and
environmental requirements. If officials of any governmental agency seek to conduct an inspection,
you must immediately contact and consult with a company representative in the safety and
environmental management organization.


1.5 Substance Abuse—Illegal Drugs and Controlled
    Substances
Verizon is committed to maintaining a safe and drug-free environment for all its employees. While on
company time, company premises, or while operating company equipment or vehicles, you may
never use, transfer, sell, manufacture or possess illegal drugs (which means any controlled
substances under Schedule I of the Controlled Substances Act—which includes marijuana—and any
other controlled substances that have not been prescribed for you by your doctor) or drug
paraphernalia. You may not report to work under the influence of any illegal drug, or if testing would
demonstrate that you have used or consumed an illegal drug.




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                                If you are taking any medication that creates a safety risk, you must report this to your supervisor,
                                and you must not operate any Verizon machinery or vehicle if the medication affects your
                                perception or responsiveness.

                                You must immediately report any arrest or charge pending final resolution or conviction for a drug-
                                related offense to the VZ Compliance Guideline so that the company may determine whether this
                                may affect your ability to perform your job or otherwise affect the company’s business interests.


                                1.5.1 Alcohol
Q. I am attending a work        You may not possess, serve, be under the influence of, or drink alcohol while on company property,
related conference. During
                                while in a company vehicle or while conducting business for Verizon. The only exceptions are for
the evening welcoming
                                Verizon functions where alcohol may be served only with prior approval from a vice president level
reception alcohol is served.
                                or above supervisor, or external events at which you are representing Verizon. Although alcohol
Can I drink alcoholic
                                may be served at such events, consumption is completely voluntary, should always be in
beverages at this event?
                                moderation, and never in a manner that would embarrass or harm the company.


A. Yes, but consumption
                                You must immediately report to the VZ Compliance Guideline any arrest or charge pending final
                                resolution or conviction for an alcohol-related offense relating to conduct while on company property
must be in moderation to        or business or that may otherwise affect your ability to perform your job, or otherwise affect the
avoid intoxication as you are   company’s business interests.
representing Verizon and
must behave professionally.     1.6 Solicitation and Fundraising
However, employees driving
company vehicles are            Solicitation and fundraising distract from work time productivity, may be perceived as coercive and
prohibited from consuming       may be unlawful.
any alcohol. You should
                                Solicitation during work time (defined as the work time of either the employee making or receiving
never drink and drive.
                                the solicitation), the distribution of non-business literature in work areas at any time or the use of
                                company resources at any time (emails, fax machines, computers, telephones, etc.) to solicit or
                                distribute, is prohibited. Non-employees may not engage in solicitation or distribution of literature on
                                company premises. The only exception to this policy is where the company has authorized
                                communications relating to benefits or services made available to employees by the company,
                                company-sponsored charitable organizations or other company-sponsored events or activities.
                                To determine whether a particular activity is authorized by the company, contact the VZ Compliance
                                Guideline.

                                Fundraising and philanthropic initiatives that refer to or use the Verizon name, or that are organized
                                by or directed to Verizon employees in the workplace, must be conducted by the Verizon
                                Foundation, and must conform to all company standards, including this Code.
Internal drawings promoting
                                This section does not apply to political activities (addressed separately in section 2.2 of this Code)
company products and
                                undertaken on Verizon’s behalf in coordination with the Public Policy, Law and Security Department
services or team building are
                                or activities conducted pursuant to the Employee Resource Group Guidelines.
allowed when voluntary and
involve no monetary
transactions.                   1.7 Gambling
                                You may not gamble or participate in any games of chance (including raffles, sports pools or
                                lotteries) on company premises, on company systems or while conducting company business.




                                                                                                                                           13
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1.8 Employee Privacy
You must take appropriate steps to protect confidential personal employee information, including
social security numbers, identification numbers, passwords, bank account information and medical
information. You should never access or obtain, and may not disclose outside of Verizon, another
employee’s personal information obtained from Verizon business records or systems unless you are
acting for legitimate business purposes and in accordance with applicable laws, legal process and
company policies, including obtaining any approvals necessary under those policies.


1.8.1 Monitoring On the Job
In order to protect company assets, provide excellent service, ensure a safe workplace, and to
                                                                                                             Verizon reserves the right to
investigate improper use or access, Verizon monitors employees’ use of Verizon’s communications
                                                                                                             inspect, monitor and record
devices, computer systems and networks (including the use of the Internet and corporate and
                                                                                                             the use of all company
personal web-based email accessed from Verizon devices or systems), as permitted by law. In
                                                                                                             property and systems.
addition, and as permitted by law, Verizon reserves the right to inspect, monitor and record the use
of all company property, company provided communications devices, vehicles, systems and
facilities—with or without notice—and to search or monitor at any time any and all company property
and any other personal property (including vehicles) on company premises.


1.8.2 Use of Recording Devices
In many jurisdictions, use of recording devices without the consent of both parties is unlawful. Unless
you are participating in an approved observation program or you have obtained prior approval from
Security or the Legal Department, you may not record, photograph, or videotape another employee
while the employee is at work or engaged in business activities or access another employee’s
systems, records or equipment without that employee’s knowledge and approval. In addition, unless
you receive prior approval from the Legal Department, you may never record, photograph or
videotape any customer, business provider or competitor without that person’s knowledge and
approval.


1.9 Misconduct Off the Job
Employees must avoid conduct off the job that could impair work performance or affect the
company’s reputation or business interests.

In order for the company to determine whether off the job conduct could impair work performance or
affect the company’s reputation or business interests, you must promptly report to the VZ
Compliance Guideline: (1) any arrest or charge pending final resolution or conviction for any felony
(or state or local law felony equivalent); (2) any arrest or charge pending final resolution or conviction
for a crime involving dishonesty, assault or battery; or (3) any other arrest or charge pending final
resolution or conviction which may affect your ability to perform your job or otherwise affect the
company’s business interests.




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                                  Maintaining Integrity and Fairness in the
                                  Workplace
                                  Verizon’s reputation depends heavily on the actions and integrity of its employees. It is
Section
                                  imperative that you avoid any relationships or activity that might impair, or even appear to
                                  impair, your ability to make objective and fair decisions when performing your job. You owe
                                  a duty to Verizon to advance its legitimate interests when the opportunity to do so arises.
                                  You must never use Verizon property or information for personal gain or take personal
                                  advantage of any opportunity that arises in the course of your work for Verizon.

Q. I am dating a                  2.1 Avoiding Conflicts of Interest
co-worker who is being
promoted to supervisor of our
team. Do we have to bring         You must disclose any potential or actual conflict to the VZ Compliance Guideline. This

this to the attention of our      chapter addresses some of the most common conflicts.

manager?
                                  2.1.1 Personal Conflicts of Interest
A. Yes. This situation            You may not supervise someone with whom you share a close personal relationship, such
would create a conflict of        as anyone in your family or household, someone with whom you have or had a romantic
interest in your group. Even if   relationship or other close personal relationship. Nor may you participate in the selection
you and your colleague are        process for, or supervise Verizon’s relationship with, a company that does business with
currently equals in the same      Verizon if it employs someone with whom you have such a close personal relationship or is
group, you should advise          a company with which you have a business relationship.
your manager of the
                                  If you supervise someone, even indirectly, with whom you have one of the relationships
relationship to prevent an
                                  described above, or if you have such a relationship with an employee of a company that
inappropriate reporting
                                  does business with Verizon, you must disclose the relationship promptly to the VZ
relationship.
                                  Compliance Guideline. In addition, you should not use your position at the company to
                                  advance your personal interests or those of a friend or relative at the expense of the
                                  company’s interests.
Q. I need to make extra
money and I want to get a         2.1.2 Employment Outside Verizon
second job. Is this a problem?
                                  You may not—with or without compensation—be self-employed or employed by, consult

A. This may create a              with, own, perform services for or aid a company or organization (including a charitable
                                  organization) that is a vendor, supplier, contractor, subcontractor or competitor of Verizon,
conflict of interest if your
                                  or that provides services that are provided by Verizon, or that Verizon is seeking to provide
second job provides any of
                                  (examples of such services may include communications, cable, video, entertainment or
the same types of services or
                                  information management, long-distance, Internet, network security, software or repair or
products as Verizon,
                                  service of computers, telephones or televisions). Outside work should not interfere with
compromises Verizon's
                                  your work for Verizon. This limitation also applies to simultaneous employment by Verizon
interests or adversely affects
                                  and its subsidiaries, affiliates and joint ventures in which Verizon maintains an ownership
your job performance.
                                  interest.

                                  Exceptions to the requirements of the previous paragraph may be granted only upon
                                  written approval by the Ethics Office.

                                  Unless you receive the prior written approval of your supervisor and Human Resources,
                                  you may not engage in any outside employment or self-employment or perform any
                                  commercially-related services—with or without compensation—while absent from work on
                                  any company-approved leave of absence, absence due to sickness or disability, Family
                                  Medical Leave or comparable leave provided for by applicable law.

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2.1.3 Activities Outside of Verizon
                                                                                                         Acting as a representative of
Many employees participate in an individual capacity in outside organizations (such as their local
                                                                                                         Verizon means that you are
school board or homeowners’ association). Memberships in these associations can cause conflicts
                                                                                                         authorized to speak on
if they require decisions regarding Verizon or its products. If you are a member of an outside
                                                                                                         Verizon’s behalf. Otherwise,
organization, you must remove yourself from discussing or voting on any matter that involves the
                                                                                                         you are acting independently
interests of Verizon or its competitors. You must also disclose this conflict to your outside
                                                                                                         and Verizon’s name should
organization without disclosing non-public company information and you must disclose any such
                                                                                                         not be used in connection with
potential conflict to the VZ Compliance Guideline. Participation in any outside organization should
                                                                                                         your participation.
not interfere with your work for Verizon. To the extent that your participation infringes on company
time or involves the use of Verizon resources, your supervisor’s approval is required.

If you serve or are seeking to serve as a representative of Verizon on a board or committee of any
outside organization, you must obtain the prior approval of your vice president level or above
supervisor, and the Ethics Office.

If you serve on a Board of Directors of a public corporation, you must obtain prior approval from
both your vice president level or above supervisor and your organization’s president or executive
vice president, and the Ethics Office. Service on the Board of Directors of a non-public corporation
must be approved by the Ethics Office.


2.2 Political Conflicts of Interest
Verizon encourages its employees to participate in the political process. It is the responsibility of
every Verizon employee to comply fully with all laws and regulations relating to interactions with
government officials, including laws governing campaign finance, government ethics and lobbying.
In addition, all lobbying activities on behalf of the company must be authorized by the Public Policy,

                                                                                                         Q. When I receive e-mails
Law and Security Department.


2.2.1 Personal Political Interests                                                                       advising me how I may contact
                                                                                                         my Congressperson about
                                                                                                         certain telecommunications
Your personal political contributions and activities must be kept separate from the company. If you
                                                                                                         laws, am I required to do so?
make political contributions, you may not refer in any way to your employment or use the company’s
assets, including its name, in connection with your contributions, unless required to do so by law.

If you are appearing before a government body or engaging in contact with a public official outside      A.    Your involvement in the
of your ordinary work duties regarding a business in which Verizon is engaged or a business issue        political process is purely
in which Verizon has an interest, you should make it clear that you are not representing Verizon,        voluntary.
and you should advise your supervisor in advance.


2.2.2 Contributions of Corporate Assets
You may not make payments of corporate contributions, whether monetary or non-monetary assets,
to any domestic or foreign political party, candidate, campaign or public official unless that
contribution is permitted under applicable laws inside and outside the U.S., and approved in
advance by the Public Policy, Law and Security Department. In addition, you may never reimburse
anyone for any political contribution.




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                                   Verizon and its subsidiaries administer Political Action Committees (PACs) that accept
                                   contributions from employees who wish to support the political process in a way that
                                   identifies Verizon, as permitted by law. Your personal contributions to these PACs are
                                   entirely voluntary.


                                   2.2.3 Seeking Public Office
                                   Before you seek any elected or appointed public office, including a local position, such as
                                   school board president, you must obtain the approval of your director level or above
                                   supervisor and the Legal Department.


You should never trade or help     2.3 Insider Trading and Financial Interests
others trade on information
that may be viewed as material     Insider trading occurs when a person trades in a company’s securities using material inside

inside information.                information—that is, information that is not publicly available and that could reasonably
                                   affect a person’s decision about whether to buy or sell the securities. It also occurs when a
                                   person gives material inside information to someone else who trades on it. Insider trading
                                   is a serious violation of the law and can result in severe civil or criminal penalties, including
                                   imprisonment.

                                   As a Verizon employee, you may become aware of material inside information about

Q. I have been asked to            Verizon or other companies with which Verizon does business. You must never use
                                   material inside information (even if you acquired it as a “tip” from others) to trade in
participate in an investor
                                   Verizon’s or any other company’s securities. This prohibition also includes trading in
expert network as a tech
                                   derivative securities, such as calls and puts, and engaging in short selling or other hedging
industry professional. This
                                   transactions. In addition, you may not provide material inside information to any other
expert network does research
                                   person, including members of your family or your friends, or assist any other person in
to assist investors. If I do not
                                   buying, selling or entering into any other transaction using material inside information.
reveal any confidential Verizon
information, can I participate?    The rules that relate to insider trading are complex. If you are not sure whether these
                                   restrictions apply to you, you should consult the Legal Department before making any

A. Employees and
                                   decision to buy, sell or trade in a security, or before you disclose any information to another
                                   person. As a general rule, non-public information concerning a company’s business,
executives are generally           financial prospects, regulatory or legal matters, or management issues, is often considered
prohibited from participating in   “material.”
expert networks for investors
due to insider trading
                                   2.3.1 Investments in Companies with Which You
concerns. You should consult
with the Ethics Office
                                         Conduct Business on Verizon’s Behalf
regarding this request.
                                   If you conduct or supervise business on Verizon’s behalf with a company, you must not
                                   transact any business in that company’s securities or derivatives of those securities. If you
                                   already own stock in a company, and your position at Verizon requires you to conduct or
                                   supervise business with this company, you must disclose your ownership interest to a vice
                                   president level or above supervisor, and seek approval from the Legal Department prior to
                                   trading in that company’s securities.




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2.3.2 Significant Financial Interests in
      Companies
You may not take a significant financial interest in a company that is a business
provider or that competes with or is in one of the same lines of business as Verizon.
A significant financial interest is any financial interest that: (a) is more than 1/10 of
one percent of a company’s publicly traded securities or other financial instruments
and (b) exceeds 25 percent of an employee’s Verizon annual base salary and
bonuses.


2.3.3 Transactions in Securities
You must not engage in any financial transaction that permits you to benefit from the
devaluation of Verizon’s stocks, bonds or other securities, including, but not limited
to, short selling or buying “put” options on Verizon stock.

In addition, you may not participate in financial transactions in the stock or other
securities of business providers or prospective business providers, including “friends
and family” deals or initial public offerings (IPOs), if these opportunities may
influence, or appear to influence, your business judgment on behalf of Verizon.


2.3.4 Loans                                                                                 Q. My supervisor is experiencing a
                                                                                            personal emergency and I offered a loan
Personal loans from the company to any executive officer (as defined by securities          of $200 until the next pay period. Is this
law) are unlawful and strictly prohibited. Personal loans from the company to any           a concern?
other employee must be approved in writing in advance by the Legal Department or
in accordance with an approved Verizon program. Loans greater than $25 between
employees who are in a direct or indirect reporting relationship are prohibited.
                                                                                            A. Yes, loans greater than $25
                                                                                            between employees who are in a direct
                                                                                            or indirect reporting relationship are
                                                                                            prohibited.




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                                 Protecting Verizon’s Assets and Reputation
                                 3.1 Preparing, Disclosing and Maintaining Accurate
 Section                             Records
                                 Verizon is committed to maintaining and providing truthful information that fully satisfies
                                 applicable legal requirements, including the Sarbanes-Oxley Act of 2002.


                                 3.1.1 Creating Accurate Records
                                 You must create accurate records that reflect the true nature of the transactions and activities
                                 that they record (including, but not limited to, reporting of time, documenting attendance and
                                 absence, productivity, commissions and quality assurance). You must resolve discrepancies in
No business goal of any kind     any records and make appropriate corrections. If you suspect or learn that records are
is ever an excuse for            misleading or contain errors, you must promptly inform either your supervisor or the VZ
misrepresenting facts or         Compliance Guideline and, if applicable, customers and business providers. Because even a
falsifying records.              minor error can affect the truthfulness of a record, you must report all errors, regardless of their
                                 size or how long ago they may have occurred. If your supervisor fails to address a report about a
                                 record’s accuracy, you must report your concern to Internal Audit or the VZ Compliance
Always report information
                                 Guideline.
accurately and promptly
resolve discrepancies in         Verizon does not tolerate falsification or improper alteration of records. It is never appropriate to
company records. Verizon’s       direct someone else to prepare or approve a false or misleading record and it is no defense to
reputation is a key asset that   say that someone else directed you to make a record that you knew or had reason to suspect
all employees must protect.      was false or misleading. It is also improper to intentionally take any action that leads to the
                                 creation of false or misleading records, such as withholding information from, or providing
                                 incomplete information to, someone who is preparing a record. If you believe that a record was
                                 intentionally falsified or created to be misleading, you must contact Internal Audit or the VZ
                                 Compliance Guideline.


                                 3.1.2 Promoting Transparent and Complete
                                       Disclosure
                                 Verizon is committed to transparency in financial reporting to enhance investors’ understanding
                                 of the company’s business and to facilitate informed investment decisions. All disclosures made
                                 in financial reports and public documents filed with the Securities and Exchange Commission,
                                 and other public communications, must be full, fair, timely, accurate and understandable.

                                 You must not selectively disclose (whether in one-on-one or small discussions or meetings) any
                                 material information regarding Verizon, its securities, business operations, plans, financial
                                 condition, results or any development or plan. You should be particularly careful not to disclose
                                 such information if you make presentations or proposals to customers, business providers,
                                 investors or to any other third party.

                                 To ensure accurate reporting, Verizon employs both internal and outside auditors. You must
                                 cooperate with and provide any auditor or investigator accurate, timely and truthful information.
                                 You must not improperly influence, manipulate or mislead any auditor or investigator. Failure to
                                 cooperate with any audit or related investigation will result in discipline, up to and including
                                 termination of employment.




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3.1.3 Retaining Company Records
Company records must be retained according to applicable laws, Verizon’s Records
Management Policy and the Verizon Records Retention Schedule
(vzweb2.verizon.com/node/10949), which are accessible to employees on the Corporate
Policy section of the Verizon VZWeb. You may never destroy, alter, mutilate or conceal any
record if you have been directed to retain it or if you know—or reasonably believe there is a
possibility—of any litigation or any internal or external investigation concerning that record. If
any person directs you to violate this policy, you must immediately contact the Legal
Department or Security and use all reasonable measures to protect the record.


3.2 Safeguarding Company Information
                                                                                                     You must comply with all company
                                                                                                     policies relating to the encryption of
You must protect company information, both non-public information, that includes “inside
                                                                                                     sensitive information. For example,
information” (information that could reasonably lead a person to buy, sell or hold Verizon’s or
                                                                                                     all company laptops must be
another company’s securities) and non-public information entrusted to Verizon (such as an
                                                                                                     encrypted, and you must encrypt
unlisted telephone number, marketing presentations or correspondence), as well as publicly
                                                                                                     files containing sensitive
available information in which Verizon or others have intellectual property rights (such as
                                                                                                     information prior to sending them
copyrighted materials).
                                                                                                     via email.

3.2.1 Protecting Non-public Company Information
You must safeguard non-public company information by following company policies and
procedures and contractual agreements for identifying, using, retaining, protecting and

                                                                                                     Q. During my commute to the
disclosing this information.

You may not release non-public company financial information to the public or third parties
                                                                                                     office on the train, I sometimes
unless specifically authorized by Verizon’s Controller.
                                                                                                     make work-related calls. Is this a
You may not release other non-public company information to the public, third parties or             problem?
Internet forums (including blogs or chat rooms) unless you are specifically authorized to do

                                                                                                     A. You must be careful not to
so by a vice president level or above supervisor, and the Public Policy, Law and Security
Department.
                                                                                                     discuss non-public company
You may only disclose non-public company information to employees who have
                                                                                                     information in public places, such
demonstrated a legitimate, business-related need for the information.
                                                                                                     as in taxis, trains, elevators or at
Even after the company releases information, you should be mindful that related information          conferences and trade shows.
may still be non-public and must be protected.                                                       When it is necessary to conduct a
Your obligation to safeguard non-public information continues after your employment with             telephone call in a public place, be
the company terminates. Without Verizon’s specific written prior authorization, you may              mindful of your surroundings.
never disclose or use non-public company information.

If you suspect or are aware of any improper disclosure of non-public company information,
you must immediately report it to Security or the VZ Compliance Guideline.




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                                  3.2.2 Acquiring Non-public Company Information
Q. A competitor's pricing               of Others
information was posted on an
Internet blog. The information    You cannot accept non-public information belonging to a third party (including information from

is marked “confidential.” Can I   a former employer) unless the person disclosing the information is authorized to do so, Verizon

use this information in           has the owner’s written permission to receive it and the information is provided according to a

preparing a customer bid?         written agreement that has been approved in advance by your supervisor and the Legal
                                  Department.

A. If you have reason to          3.3 Proper Use of Verizon’s Property and Property
believe that the blogger was
                                      Owned by Others
not authorized to post the
information and that it is non-
                                  You must always protect Verizon’s tangible and intangible property and any property entrusted
public, you should contact your
                                  to your care by customers or business providers. Company property and the property of co-
supervisor and Legal to
                                  workers, customers and business providers may not be taken, sold, loaned, given away or
receive guidance before using
                                  otherwise disposed of, regardless of its condition or value, without specific authorization.
the information.
                                  Property includes, but is not limited to, tangible property, data, records and all communications.

                                  Unless permitted by written company policy, it is never appropriate to use Verizon machinery,
Do not acquire or disclose        switching equipment or vehicles for personal purposes, or any device or system to obtain
non-public information.           unauthorized free or discounted service.


                                  3.3.1 Company Benefits
                                  Verizon’s benefits plans and programs are provided as compensation and must be used
Corporate credit cards are to     honestly. You must not misrepresent your health status, your covered members, your
be used only for approved         beneficiaries, or any other facts, including reasons for absence, in order to claim benefits to
business purposes.                which you or others are not entitled.


                                  3.3.2 Company Property and Funds

Q. I am responding to a
                                  Company property and funds—which include anything that has or represents financial value—
                                  must be handled responsibly, honestly and in accordance with applicable company policies.
large business customer’s         Personal or unauthorized use of company funds is strictly prohibited. Corporate credit cards
Request for Proposal (RFP).       must be used solely for authorized business purposes and may not be used for personal
The customer sent me an           charges.
email that attached our
competitor’s quote for the RFP    3.3.3 Work Time
response; the customer asked
me if Verizon can beat the        You must keep accurate records regarding your work time. You may not instruct another
competitor’s pricing. What        employee to misreport or fail to report any time worked. Overtime eligible employees must
should I do?                      report all time worked. By submitting your time, you are representing that you have accurately
                                  reported your time and that you have not performed any work not reported. You may report any

A. Contact Legal, preserve        questions about time reporting, or any concerns you have about the accuracy of your wages,
                                  including any claim that you have not been paid for all hours worked, or that any deductions
the email, and do not take
further action until directed     from your wages are improper or in error, to Human Resources, the Verizon Services Payroll

by Legal. Do not share or use     Department or to the VZ Compliance Guideline.

non-public competitor
confidential information.

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3.4 Protecting Company Communication
    and Information Systems
Communication and information systems, including company computers and mobile
                                                                                            Q. Can I check the weather on the
                                                                                            internet with my computer?
devices, are provided to employees to conduct Verizon business and are valuable
assets that must be protected by all employees. You must protect company
information and data from accidental or unauthorized disclosure, misuse, improper           A. Limited personal use of company
alteration or destruction. Limited personal use of communications equipment is              systems is permissible if it conforms to
permissible so long as it does not interfere with work responsibilities or business         Code standards.
operations, incur inappropriate costs, violate the law, this Code or Verizon policy.

You must protect the security of any identification access number, user ID or
password that you use for any computer, network application or communication
device. All electronic media—such as software, thumb drives, CD-ROMs and files—
when acquired through public networks (e.g., the Internet) or from outside parties,
must be checked for viruses prior to installation or use. Only approved and properly
licensed software is to be used on company systems and its use is subject to the
applicable software owner’s license agreements. You must comply with applicable
company policies when acquiring, accessing, using, altering, disposing of or
destroying data, or when commenting on data over public networks (e.g., the
Internet).


3.4.1 Prohibited Activities                                                                 Q. A friend sent me a chain letter
                                                                                            e-mail requesting that I forward to ten
                                                                                            others to support a charitable cause.
You may never use company systems (such as e-mail, instant messaging, the
                                                                                            Is this O.K.?
Intranet or Internet) to engage in activities that are unlawful, violate company policies
or result in Verizon’s liability or embarrassment. Some examples of inappropriate
uses of the Internet and e-mail include:                                                    A. No. Circulating chain letters
•   Pornographic, obscene, offensive, harassing or discriminatory content;                  through company systems or mail is
                                                                                            prohibited.
•   Chain letters, pyramid schemes or unauthorized mass distributions;

•   Communications on behalf of commercial ventures;

•   Communications primarily directed to a group of employees inside the company
    on behalf of an outside organization;

•   Gambling, auction-related materials or games;

•   Large personal files containing graphic or audio material;

•   Violation of others’ intellectual property rights; and

•   Malicious software or instructions for compromising the company’s security.

Also, you may not send e-mail containing non-public company information to any
personal e-mail or messaging service unless authorized to do so by your supervisor
and you comply with company requirements relating to the encryption of information.




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                                 3.5 Security of Facilities
                                 Verizon’s operations must be appropriately secured to protect our customers and each other.
                                 This includes customer and employee personal information, network operations and facilities,
Always wear/display your         computer systems and passwords, security procedures, company facilities and their locations,
identification badge at work.    technical and marketing research data, product development information and business plans
                                 and strategies.

Always protect Verizon’s         You must take all appropriate precautions to protect Verizon’s systems and premises. Do not
property.                        leave visitors unescorted or sensitive areas unattended or unlocked. When on company
                                 property (or, if appropriate, while on company business) wear your identification badge and
                                 request identification from others whom you do not recognize. Most importantly, you must
Never compromise integrity for   immediately report all suspicious activity to Verizon Security.
a quick solution.
                                 3.6 Intellectual Property
                                 Intellectual property includes information protected by Verizon’s trademarks or copyrights, the
                                 use of which is restricted by applicable intellectual property laws. To safeguard Verizon’s
                                 intellectual property from illegal copying or other misuse, employees must ensure it is affixed
Intellectual property can be     with or identified by trademark, service mark or copyright symbols.
many things such as              If you’re unsure whether or what protection is necessary or appropriate, or if you believe
marketing strategies, business   disclosure or use by a third party is improper, contact the Legal Department.
plans and other items. If you
are not certain, contact the     3.6.1 Proper Use of Others’ Intellectual Property
Legal Department.
                                 You must respect the proprietary rights of others by complying with all applicable laws and
                                 agreements that protect the intellectual property rights of others, including all business
                                 providers, competitors or customers. Unless you obtain the intellectual property owner’s specific
                                 prior consent, you may not copy, distribute, display, perform, or modify third-party copyrighted
                                 materials or conduct peer-to-peer or other file sharing of copyrighted materials.
                                 A work may be protected by a copyright even if there is no notice on the work.


                                 3.6.2 Information of Former Employers
                                 Former employers may have required you to sign non-disclosure or other agreements that may
                                 affect your work at Verizon. If you have not disclosed these to your supervisor by the time of
                                 hire, you must do so immediately.




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3.7 Handling External Communications                                                   Q. I am a Verizon employee and am
                                                                                       designing new marketing materials that use
Unless you receive prior approval, you may never suggest that you are speaking on      the company logo. Is there any guidance
behalf of Verizon when presenting your personal views at community, professional or    that applies?
cultural functions or on the Internet.

Use of the company brand and logo by Verizon employees for commercial business
purposes must adhere to approved corporate identity specifications. To seek
                                                                                       A. Yes, you must seek guidance about
                                                                                       appropriate use from the Brand
guidance on appropriate use, visit the Brand Management intranet site
                                                                                       Management intranet site:
verizon.com/brandcentral. To report misuse, contact the Legal Department.
                                                                                       verizon.com/brandcentral.
Verizon will generally deny requests for company-sponsored endorsements or

                                                                                       Q. If I am using my personal social
testimonials. All requests, including the use of Verizon’s name or an employee
endorsement in any business provider’s advertising or literature must be coordinated
and approved by the Public Policy, Law and Security Department and the Corporate       media account on my personal time, does

Brand Management organization.                                                         the Code of Conduct really apply?



Requests and inquiries must be referred to the authorized groups described below:      A. Yes, portions of the Verizon Code of
                                                                                       Conduct still apply to your personal use of
•   Media Relations is responsible for contacts with the news media and inquiries
                                                                                       social media. For example, if you identify
    about community relations.
                                                                                       Verizon as your employer and post racist
•   Investor Relations handles communications related to Verizon’s financial           comments or comments encouraging acts
    performance and all contacts with the financial community.                         of violence on your social media pages,
•   Public Policy, Law and Security Department handles contacts from outside           such behavior may constitute prohibited off-
    attorneys, legislative bodies and regulatory agencies.                             duty misconduct.

•   Human Resources handles inquiries regarding current and former employees,
    including employment verification.                                                 For additional information about the proper
•   Public Policy, Law and Security Department responds to subpoenas, court            use of social media, either in your individual
    orders and criminal inquiries and interfaces with law enforcement on security      capacity, or on behalf of Verizon, please
    matters, including emergency response.                                             review the company’s social media policies:
                                                                                       vzweb2.verizon.com/social-media-
                                                                                       compliance



                                                                                       For approval to speak externally on behalf
                                                                                       of Verizon, please contact Media Relations:

                                                                                       verizon.com/about/news/media-contacts


                                                                                       For more information about speaking
                                                                                       externally on behalf of Verizon, contact the
                                                                                       Verizon Speaker Bureau:

                                                                                       vzweb2.verizon.com/verizon-speaker-
                                                                                       bureau



                                                                                       For legal assistance, please contact your
                                                                                       business unit’s assigned attorney. Please
                                                                                       check within your department to identify
                                                                                       your contact.



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                                Maintaining Integrity and Fairness in the
                                Marketplace
 Section
                                Verizon’s integrity in the marketplace is a key component of our reputation for trustworthiness and
                                service.


                                4.1 Customer Relationships
                                Verizon’s customers expect and deserve fair, honest and respectful service. You are accountable
                                for your role in the delivery of that standard of service.


                                4.1.1 Customer Privacy and Communications
                                Verizon’s privacy policies inform customers about what information is collected about them and
                                how it is used. Customers are also given the ability to limit certain uses of their information. You
                                must respect these choices. Verizon’s privacy policies may be found at:
                                vzweb2.verizon.com/verizon-privacy-office. Verizon’s Privacy Office can also assist with specific
Treat customers fairly in all   questions or concerns.
aspects of transactions,
                                Except as otherwise required by the duties of your position, you must not—and must not permit
including pricing,
                                others to—access, listen to, monitor, record, tamper with, disclose or intrude upon any customer
advertising, marketing and
                                conversation or communication, except to comply with a valid service or installation order, a valid
service solutions.
                                legal order or applicable law, or for the limited purposes of quality monitoring and training, as
                                approved by the Legal Department.

                                In addition to protecting customer communications, you must also protect customer information.
Protect customer                That means you may not access, view, use, modify, share or distribute customer information
confidential information and    without a proper business reason. You also may not access account information concerning
respect customer privacy        yourself, your friends, acquaintances, family or coworkers without prior approval by your
by following the Verizon        supervisor.
Privacy Principles.             Verizon contractors and vendors must also protect customer information. You should work with the
                                Legal Department to ensure that contracts with these third parties protect customer information. If
                                you are aware of or suspect unauthorized access to, disclosure, or loss of customer information,
                                you must immediately notify the Legal Department, Security or the VZ Compliance Guideline.


                                4.1.2 Customer Marketing
                                Before using any customer information to market additional products or services, or disclosing
                                customer information to other companies for marketing purposes, you must follow all company
                                policies and applicable laws and regulations regarding the use and disclosure of this information.

                                When customers are also telecommunications carriers or resellers of telecommunications, you
                                should not use their subscriber information, orders or processes/services to aid in Verizon’s retail
                                marketing or sales efforts.




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4.1.3 Selling with Integrity
Verizon policy requires that we fully, clearly and directly inform our customers of the
terms and conditions of our services. Any attempt to deceive a customer will not be            Provide accurate and clear information.
tolerated and may result in disciplinary action up to and including termination of
employment. The following guidelines must be followed at all times:

•   All advertising and sales materials must be truthful and accurate. Materials must not
    be false, misleading or have a tendency to deceive. All claims must be substantiated
    in advance with a factual basis and back up. No advertising or sales materials will
    be released without Legal Department approval.

•   When advertising the price of Verizon’s products and services, the customer must
    be clearly informed of all monthly and per-use fees and any other material terms
    and restrictions for obtaining the advertised rate in marketing and promotional
    materials. There will be no “hidden” charges.

•   Comparisons to competitors must be accurate and substantiated at the time they
    are made. Do not disparage competitors. You should promote Verizon’s products
    and services through fair and accurate comparisons with its competitors, and sell on
    the strength of Verizon’s products, services and reputation. Do not make misleading
    or inaccurate comparisons with competitors’ products and services; comment on
    competitors’ character, financial condition or potential legal or regulatory problems;
    or make negative remarks about entire groups of competitors and their products and
    services.
•   There are strict rules regarding sales and promotions. They must be followed
    without exception. For example, you cannot use the word “free” without full
    disclosure of all material conditions disclosed in close proximity to the word.


4.2 The Government as a Customer
When dealing with government agencies that are customers, you should consult with the
Legal Department to identify additional laws, regulations and procedures that you must
follow, including those related to gifts, entertainment, accuracy in billing and limitations
on contacts with government officials during active government procurements.                   Learn and follow all additional
                                                                                               requirements when dealing with the
4.2.1 Court Orders and Other Legal Documents                                                   government as a customer.


Verizon may receive court orders seeking information about its customers. You may
neither confirm nor deny to any unauthorized person the existence of, or any information
concerning, a subpoena, warrant or court order. You should immediately refer to                Ethical behavior is promoted by full and

Security any inquiries or requests of this kind.                                               open disclosure.

If you receive any legal documents in the workplace, including court orders and
subpoenas, warrants, summons and correspondence from any government or law
enforcement agency, or any attorney, you must forward them immediately to the Legal
Department.




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                              4.2.2 Classified and National Security Information
                              You must take all necessary steps to protect classified and national security information and you must
                              coordinate all activities related to this information with Security and Legal Department personnel who
                              have appropriate clearance. It is never appropriate to disclose this information to another person
                              without explicit approval from the Legal Department.


                              4.3 Selecting and Maintaining Relationships with
Q. My wife manages a              Business Providers
training consulting firm.
Can she submit a
                              You must use care and good judgment in selecting and maintaining relationships with all of Verizon’s
proposal to become a
                              business providers. Employees who participate in the selection of any business provider must:
Verizon vendor?
                              •      Use a selection process that is fair, lawful, does not improperly discriminate and complies with all

A. You should report
                                     company policies and procedures;

                              •      Ensure business providers are apprised of their obligation to abide by Verizon’s standards of
this relationship to your
                                     business conduct and the Verizon Supplier Code of Conduct;
supervisor, refer the
matter to Corporate           •      Put all agreements in writing and obtain all required approvals before signing; and

Sourcing and refrain from     •      Never reveal confidential information about one vendor to another vendor or to anyone outside of
participating in Verizon’s           Verizon. Disclosures of such information, even within Verizon, should be limited to those with a
discussions or relationship          need to know the information.
on this matter.
                              4.4 Gifts and Entertainment
Q. A vendor has               The exchange of gifts and entertainment can promote successful working relationships and good will.
offered me tickets to a
                              However, failure to follow applicable laws as well as company rules and procedures can harm
baseball game. Can I
                              Verizon’s reputation or result in civil or criminal penalties.
accept them?
                              Regardless of value, the appearance of influence must always be considered before accepting any gift,

A. Possibly. If the
                              entertainment or other business courtesy. You may not use your own money or resources to offer gifts
                              or entertainment to a customer or vendor if these activities otherwise would be prohibited using
vendor is inviting you to     Verizon’s resources. In addition, when you offer gifts or provide entertainment to others consistent with
attend the game with          this Code, you must also ensure that these courtesies are properly reflected on Verizon’s books and
him/her, this may             records.
constitute business
entertainment and must
                              4.4.1 When Gifts are Appropriate
comply with the Code’s
standards for business
                              A "gift" is anything of value, including promotional trinkets, food, beverages and tickets to cultural or
entertainment. If the
                              sporting events, that you or someone in your family or household—or a person with whom you have a
vendor is not attending,
                              close personal relationship—either give or receive.
then the tickets would be
considered a gift and must    To be appropriate, a gift (whether it is given or received) must be in compliance with applicable laws

comply with the Code’s        and:

standards for accepting       •      Unsolicited;
gifts.                        •      Not cash or usable as cash (including gift cards and gift certificates, unless they have been
                                     approved as part of a Verizon marketing promotion or other authorized Verizon program and
                                     approved by the Legal Department); and
                              •      No more than $150 in face value in a calendar year to or from the same organization, unless
                                     approved by a director level or above supervisor and the Ethics Office.


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4.4.2 When Entertainment is Appropriate
Entertainment includes meals and cultural or sporting events that you attend with a
customer or business provider. If you do not attend the event with the customer or
business provider, the tickets to such an event are not entertainment, but rather “gifts,”
which are subject to the gift restrictions in this Code.

To be appropriate, entertainment must be in compliance with applicable laws and:

•    Offered or accepted in the normal course of business;

•    Attended by both a Verizon employee and a business provider’s employee and
     be an occasion where business is discussed;
                                                                                             You should never use gifts and
•    No more than $250 in value per occasion, per person unless approved by a                entertainment to place undue influence
     director level or above supervisor and the Ethics Office; and                           on Verizon’s business providers.
•    At a venue and conducted in a manner that does not violate other provisions of
     this Code or harm the company’s reputation (e.g., an event at an adult

                                                                                             Q. My sales team is working on
     entertainment venue is not acceptable).


4.4.3 Prohibited Exchanges                                                                   Verizon’s bid response to a non-
                                                                                             government customer’s Request for
Even if the gift or entertainment meets the above standards, you must not exchange it        Proposal. I would like to take the customer
if: (a) it is intended to improperly influence another person’s business judgment; (b) it    to dinner to discuss our proposal. Can I
might create the appearance of undue influence, unfairness or impropriety; or (c) you        pay for the customer’s meal?
are participating in, conducting or directly supervising a formal Verizon procurement
process (such as a request for bids).                                                        A. Yes, it is permissible to pay for the
Employees are not permitted to receive tips and you should politely decline any that         meal as long as it conforms with the
are offered to you.                                                                          Code’s standards for business
                                                                                             entertainment, applicable policies and legal
4.4.4 Gifts Involving Travel or Lodging                                                      standards. However, the exchange of gifts
                                                                                             during a procurement process is improper
You are prohibited from receiving gifts of travel or lodging unless you receive the prior    because such gifts can create the
approval of the Ethics Office.                                                               appearance of undue influence.


4.4.5 Returning Gifts
If a gift exceeds the standards set forth in this Code, you should return the gift with an
explanation that company standards do not permit you to accept such gifts. If
returning a perishable item is not feasible, it should be anonymously donated to
charity or accepted on behalf of Verizon and shared among all employees in the
office. If shared, the gift’s value per person should not exceed the $150 calendar year
limit.

If you receive a gift that falls outside of the Verizon standards and you are unable to
return it, you must contact the VZ Compliance Guideline for appropriate
documentation, safeguarding and disposition of the gift.




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                              4.4.6 Gifts Outside the Workplace
                              Employees who are personal friends of customers or business providers might wish to exchange
                              gifts outside of the workplace for appropriate events (such as a wedding or baby shower). These
                              exchanges should be infrequent, disconnected from any work activities and disclosed to a
                              supervisor beforehand to ensure that they do not improperly influence or appear to influence
                              business decisions.

Q. I sell Verizon             4.4.7 Gifts and Entertainment Involving Government
products to state
                                    Officials
governments. Can I take
my state government
                              Special rules apply to interactions with government officials and employees. Laws, rules and
contact to a football game,
                              regulations concerning appropriate gifts and entertainment for government officials and employees
using Verizon’s tickets?
                              are complex and can vary depending on government branch, state or other jurisdiction. Additionally,

A. You must obtain
                              the Foreign Corrupt Practices Act (discussed further in section 4.9.4) restricts the exchange of gifts
                              and entertainment with non-U.S. officials.
written Legal approval
                              All employees must obtain advance written approval from the Legal Department before providing
before providing any gifts,
                              gifts, entertainment, or anything else of value to any government official or employee.
entertainment, or anything
else of value to a
government official or
                              4.5 Bribes, Kickbacks and Loans
employee.
                              It is never appropriate to offer, pay, or receive bribes or kickbacks (including to or from any
                              government official or employee), which can subject you to civil or criminal penalties. You should
                              immediately notify the Legal Department about any payment or gift that is offered to you, or
                              requested from you, that you believe may be a bribe, kickback, solicitation of a bribe or kickback, or
                              otherwise improper.

                              It is never appropriate to offer or accept personal loans or guarantees (e.g., preferences or
                              discounts not offered widely) to or from customers, business providers or competitors of Verizon.


                              4.6 Relationships with and Obligations of Departing
You may not rehire or             and Former Employees
contract with a former
employee unless that          Your obligation to abide by company standards exists even after your employment with Verizon
person has been separated     ends. The following requirements apply to all current, departing and former Verizon employees:
from the company for a        •   When leaving or retiring, you must ensure that you return all Verizon property in your
minimum time period of six        possession, including all records and equipment.
months. Any exceptions
                              •   You may not breach any employment condition or agreement you have with Verizon. You may
must comply with this Code
                                  not use or disclose Verizon non-public information in any subsequent employment, unless you
and applicable policy.
                                  receive written permission in advance from a Verizon vice president level or above supervisor
                                  and the Legal Department.

                              •   You may not provide any Verizon non-public company information to former employees, unless
                                  authorized. If a former employee solicits non-public information from you, you must immediately
                                  notify Security or the Legal Department.

                              •   Except as authorized below, you may not rehire a former employee, engage a former employee
                                  as an independent contractor or contingent worker, or purchase products or services on
                                  Verizon’s behalf from a former employee unless that former employee has been separated from
                                  the company for at least six months.

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•   In extremely limited circumstances, the Executive Vice President - Human Resources
    may, in writing prior to the engagement, and upon finding a compelling reason, approve
    the rehire of a former employee or the engagement of a former employee as an
    independent contractor or contingent worker within six months of that person’s
    separation.

•   A vice president level or above supervisor may, in writing prior to the purchase, and upon
    finding a compelling reason, approve the purchase of products or services on Verizon’s
    behalf from a former employee within six months of that person’s separation. Where a
    former employee has been separated from Verizon for more than six months,
    authorization from your supervisor must be obtained before products or services are
    purchased from that former employee.

If you are concerned that a former Verizon employee is benefiting unfairly from information
obtained while employed at Verizon, or may be inappropriately receiving Verizon non-public
information, you should contact the VZ Compliance Guideline for guidance.


4.7 Interaction with Competitors
                                                                                                   We sell our products and
Verizon is dedicated to ethical, fair and vigorous competition. We will sell our products and      services on the basis of their
services on the basis of their merit, superior quality and competitive pricing. Any questions      merit, superior quality and
concerning competition laws should be reviewed with the Legal Department.                          competitive pricing.


4.7.1 Avoiding Violations of the Antitrust and
      Competition Laws
The U.S. antitrust laws prohibit certain activities. If you have any questions about whether
any activity falls into the following categories, or if you have any information about someone
in the company engaging in the following types of conduct, you must contact the Legal
Department.

You should also contact the Legal Department to determine the applicability of antitrust or
competition laws of any other country in which you conduct business.

The antitrust laws prohibit agreements with competitors fixing prices, dividing markets, rigging
bids or otherwise limiting competition. Explicit agreements, informal “gentlemen’s
agreements,” and even a “wink and a nod” are against the law. Violation of these prohibitions
may result in serious consequences for you or the company, including criminal penalties and
imprisonment.

The following activities are prohibited:

•   Price Fixing: You must not agree with a competitor on prices or set prices in concert
    with a competitor. This also prohibits discussions on things that influence price, such as
    costs, marketing and sales strategies, future product or geographic expansion plans,
    credit terms, and other competitively sensitive information.

•   Market Allocation: You must not agree with a competitor to divide markets, products,
    customers, or segments. You must not engage in any communications with competitors
    about the places or customers for which they or Verizon are competing.

•   Bid Rigging: You must not agree with a competitor to set the terms or direct the
    outcome of a bidding process. You also must not engage in any communications with
    competitors about bids.


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                                  •   Group Boycotts: You must not boycott a supplier or customer as a way to make the
                                      supplier or customer stop dealing with a rival. A group boycott—an agreement with others

Q. I have established good            not to deal with another person or business—may violate the antitrust laws if it is used to
                                      force customers to pay higher prices or to hinder a rival from entering the market.
relations with the account
executives of some of our         In addition, you should be careful of the following:
competitors. At trade shows       •   Joint Ventures, Teaming Arrangements and Non-Competition Agreements: The
and conferences we often              antitrust laws do not prohibit all joint ventures or teaming arrangements. Sometimes,
catch up on industry trends,          agreements not to compete are permissible as part of otherwise valid business
customer deals, etc. Is this          arrangements. But those occasions are limited and must be approved by the Legal
appropriate?                          Department. You may not submit a joint bid, enter into a joint venture or teaming
                                      arrangement or negotiate a non-compete agreement without the approval and involvement

A. Use caution in these               of the Legal Department.

situations and do not discuss     The antitrust laws also prohibit certain types of unilateral conduct, that is, conduct undertaken
the price or terms of any         by Verizon alone. Violation of this prohibition may result in large fines and judgments against
Verizon contracts or gain         the company.
competitive information           You must not engage in the following conduct:
directly from a competitor.       •   Sabotage: Do not tamper with competitors’ products, sales materials or other property.
You should not even joke
                                  •   False Statements: When making comparisons to a competitor, stick to the facts. Do not
about work-related topics
                                      embellish, exaggerate or mislead.
since this could be
misinterpreted. You should        The antitrust laws limit the circumstances in which certain business or marketing decisions are
refuse to discuss any anti-       permissible. Before engaging in any of the conduct described below, consult the Legal
competitive issues and leave      Department for guidance:
such conversations                •   Exclusive Dealing: Exclusive dealing occurs when a company requires, as a condition of
immediately.                          doing business, that a customer forego dealing with competitors.

                                  •   Resale Prices: Resale price setting occurs when a company establishes the price that
                                      resellers or distributors charge for Verizon’s products.

                                  •   Refusals To Deal: Refusals to deal occur when a company declines to offer to one
                                      customer a service that it makes available to other customers, or when a company offers a
You must make independent
                                      service to one customer on more burdensome terms than it makes available to other
pricing and marketing
                                      similarly situated customers.
decisions and cannot
coordinate your actions with      •   Tying: Tying occurs when a company forces a customer who wants one product to buy a
Verizon's competitors.                second product also, as a condition of buying the desired product.

                                  •   Bundling: Bundling occurs when a company offers a discount on one product if it is
                                      purchased together with another.
Deal fairly and honestly in all
activities, including pricing,    •   Below-cost Pricing: Pricing below cost occurs when a company does not recover its
licensing and rights to sell.         costs for a particular product, or bundle of products.




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4.7.2 Gathering Information About Competitors
                                                                                                   Accurately identify yourself when
While it is entirely proper for employees to gather information about competitors, you must
                                                                                                   you gather public information
avoid even the appearance of improperly acquiring this information. You must accurately
                                                                                                   about competitors.
represent yourself and never misrepresent your identity when gathering competitive
information. You must also ensure that any agents or consultants employed to obtain
competitive information on Verizon’s behalf also represent themselves accurately and follow
these principles.

Generally, it is appropriate to gather competitive information from public sources, industry
gatherings and surveys and benchmarking/competitive research. It is never appropriate to
request or obtain non-public competitor information from government or agency reports that
are not available to the public from other competitors or former employees of competitors,
who must abide by any non-disclosure or confidentiality agreements with their former
employers, unless you are well briefed beforehand by the Legal Department regarding what
you can and cannot discuss. It is also never appropriate to commit theft, espionage or
breach of a competitor’s non-disclosure agreement. To the extent that information is clearly
private or marked in such a way as to indicate it is private, you should not use it and should
contact the Legal Department for guidance.

If you have reason to believe that competitive information from customers or others may not
be public, you should consult with the Legal Department before accepting or using this
information.


4.8 Relationships With Affiliates
In order to ensure that the company’s organizational structure is not used unfairly, all
transactions between and among the Verizon companies (also called “affiliates”) must
comply with company policy and all applicable laws and regulations, including affiliate pricing
and Customer Proprietary Network Information (CPNI) requirements.


4.9 International Relationships
Verizon must abide by the laws, rules and regulations of countries where we do business. If        When working abroad, you must
your job, or the jobs of anyone you supervise, involves business with customers or vendors         adhere to this Code of Conduct,
in another country, you must be familiar with all laws that impact your work. Because cultural     as consistent with applicable
differences and local customs or laws may raise issues, prior to engaging in any                   laws.
international business, you should review this section and discuss these issues with your
supervisor and your business unit Legal Department or Corporate Compliance Counsel.


4.9.1 Locating Offices or Receiving Services
      Outside of the United States
If you are considering locating or moving a project, unit, group or any Verizon activity outside
the United States, or obtaining services from employees or external providers located
outside the United States (including any call center or IT services from individuals located
outside of the United States), you must contact the Legal Department to determine the rules,
policies and laws that may apply.




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                                   4.9.2 Compliance with Screening Requirements of
                                         the Office of Foreign Asset Control (OFAC)
                                   The regulations promulgated by the Office of Foreign Asset Control (OFAC) of the U.S.
                                   Department of the Treasury prohibit any U.S. person, including employees of U.S. companies
                                   located outside the U.S., from transferring, paying, receiving or otherwise dealing in property
                                   or an interest in property belonging to or under the control of a large number of specially
                                   designated individuals and entities (the OFAC List). Violations of these regulations can result
                                   in substantial fines and imprisonment.

                                   To comply with the OFAC regulations, those entities with which we transact directly must be
                                   screened against the OFAC List. In addition, we must not transact indirectly, through our
                                   contractors, tenants, landlords or vendors, with individuals and entities on the OFAC List. To
                                   this end, compliance with the OFAC regulations is also an integral obligation of our agents,
                                   vendors, suppliers and other third parties, as reflected in our Supplier Code of Conduct and
                                   our OFAC Export Control Guidance for Vendors & Suppliers.

                                   You should contact your business unit Legal Department or Corporate Compliance Counsel to
                                   confirm compliance with OFAC screening requirements.


                                   4.9.3 Import/Export Control
It is important to remember
that export regulations
                                   It is Verizon’s policy to comply with all import and export laws and regulations, including the
likely exist and will need to be
                                   U.S. Export Administration Act and the International Traffic in Arms Regulations (ITAR), as
adhered to, regardless of the
                                   well as the import and export laws and regulations of all countries applicable to our global
country from which an export
                                   business. Failure to do so could result in civil and criminal penalties, imprisonment and the
originates. Most countries
                                   loss of Verizon’s ability to import or export products and services and retain government
have implemented
                                   contracting privileges.
comprehensive export control
regimes. Contact your              Because specific authorizations or licensing may be required for particular transactions, you
Corporate Compliance               should contact your business unit Export Control Coordinator, your business unit Legal

Counsel or business unit Legal     Department or Corporate Compliance Counsel before:

Department prior to shipping       •   Exporting via physical shipment, electronic means or any other means of transfer any
across borders.                        product, service or technical information from the U.S. or moving it between or among
                                       countries. Technical information can consist of manufacturing processes, product use or
                                       commercial and technical expertise, data or software;

                                   •   Exporting products or services identified on the U.S. Munitions List contained in the ITAR;

                                   •   Taking any product, service or technical information with you when you travel to another
                                       country on personal or company sponsored business;

                                   •   Providing any product, service or technical information to parties that previously have
                                       been denied an export license; or

                                   •   Discussing with or displaying to non-U.S. nationals (including Verizon employees),
                                       whether inside or outside the U.S., any Verizon technical data, equipment or non-public
                                       information or its application, whether inside or outside the U.S., either on company or
                                       personal business.

                                   You should consult your business unit Export Control Coordinator or Corporate Compliance
                                   Counsel to identify situations that may require written assurance by non-U.S. recipients that
                                   they will abide by U.S. export control regulations.




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4.9.4 Payments, Lobbying, Expenses and
      Recordkeeping Requirements Globally                                                     Q. In conjunction with a
                                                                                              deal I am working on, a government
The payments we make, lobbying we conduct and expenses we incur in the course of              official has asked Verizon to pay a
doing business internationally must reflect the value of the services actually provided, be   “processing fee” to expedite
directed to proper business purposes, be made to legitimate business service providers,       clearing customs. What should I
be accurately documented and meet the requirements of the laws of the U.S. and of             do?
other countries where we do business.

A growing number of countries have anti-corruption laws which make it a crime to bribe
government officials and others with whom Verizon conducts business. One key law
                                                                                              A. “Expediting” or “facilitating”
                                                                                              payments are unlawful in many
governing our conduct of business outside the U.S. is the Foreign Corrupt Practices Act
                                                                                              circumstances and are generally
(FCPA), which prohibits bribes and provision of other improper payments or items of
                                                                                              prohibited at Verizon. You must
value, or offers or agreements to pay bribes or provide other improper payments or items
                                                                                              immediately notify Corporate
of value to a non-U.S. government official. Because Verizon is incorporated in the U.S.,
                                                                                              Compliance Counsel or your
the FCPA applies to all Verizon employees around the world.
                                                                                              business unit Legal Department
Another key anti-corruption law governing Verizon’s global business activities is the U.K.    Vice President about any requests
Bribery Act, which prohibits bribery and other improper payments, as well as offering,        to pay what you believe may be an
requesting, or agreeing to bribes or other improper payments, to or from not only             expediting or facilitating payment.
government officials but also non-governmental third parties. The U.K. Bribery Act may
apply to anyone performing services for or on behalf of Verizon in any country.

Before offering meals, gifts, gratuities, entertainment or anything of value to any
government official, you must consult with your business unit Legal Department or
Corporate Compliance Counsel regarding compliance with applicable anti-corruption
laws and Verizon standards. Also consult with your business unit Legal Department or
Corporate Compliance Counsel regarding any payment or gift that is requested from you
or offered to you that you believe may be a bribe, solicitation of a bribe or otherwise
improper, even if it does not involve a government official.

Additionally, you must never make payments to a third party that you suspect may be
passed to government officials or other persons to improperly influence any person’s
decision-making to secure, retain or direct business for Verizon. You must not use an
agent to make any payment that Verizon itself cannot make. Whenever you retain any
agent in connection with our global business, you must make sure that you can properly
trace any funds provided to the agent to ensure that they are not used to make improper
payments.

Regardless of the customs of a particular country, you must be careful to follow company
standards, local laws and U.S. laws regarding doing business with government officials
or their family members.

Verizon is required to accurately record information regarding payment, including the
amount and recipient. These record-keeping requirements apply to any agents or
consultants who represent Verizon. This means that you must ensure that Verizon—or
any agent or consultant who acts on Verizon’s behalf—properly documents all
transactions and maintains accurate information with respect to the amount and ultimate
recipient of contract payments, commissions and other payments.

You should consult with your business unit Legal Department or Corporate Compliance
Counsel if you have any questions about anti-corruption laws, Verizon’s anti-corruption
compliance program, or your individual compliance obligations.



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                                 4.9.5 Economic Sanctions and Embargoes
Q. My business group was         It is illegal under U.S. law for any U.S. company or person (including employees of U.S.
recently contacted
                                 companies located outside the U.S.) to engage in transactions with a number of designated
by a foreign organization that
                                 countries, or with certain designated parties anywhere in the world (for example, groups that
wants to arrange for the
                                 support terrorism). You should check with the Legal Department regarding sanctions and
purchase of certain services
                                 embargoes by the U.S. and other countries that prohibit conducting business in specific
and products from Verizon.
                                 countries or with specifically identified parties.
The organization is head-
quartered in a country           In addition, because the United States and other countries have restricted travel to certain
in which we have never           countries, employees who travel internationally must familiarize themselves with any
done business. What should I     prohibitions on travel due to sanctions or embargoes, restrictions on taking company assets
do?                              into certain countries and the rules and procedures for obtaining and using business travel
                                 documents, including passports, visas, approvals and special documentation.

A. Before discussing             4.9.6 Illegal Boycotts
business with this
organization, you must
                                 Verizon will not participate in boycotts of countries, their nationals or blacklisted companies,
first check with the Legal
                                 unless these boycotts are sanctioned by the U.S. government and participation by Verizon is
Department to determine
                                 approved by your business unit Legal Department or Corporate Compliance Counsel. Nor will
if you will be doing business
                                 Verizon disclose information about present or prospective business relationships in countries
in a country or with an
                                 that are the subject of illegal or improper boycotts.
organization that is the
subject of any legally           Unless approved by your business unit Legal Department or Corporate Compliance Counsel,
imposed economic sanctions.      you must not furnish information about:

                                 •   Verizon’s past, present or prospective business relationships with illegally boycotted
                                     countries or blacklisted companies; or

                                 •   Any person’s: a) race, religion, gender, national origin or nationality,
                                     b) membership in or support of a charitable or fraternal organization supporting boycotted
                                     countries, c) relationship with nationals of boycotted countries, or
                                     d) relationship with a boycotted country or blacklisted company; or

                                 •   Any person believed to be restricted from doing business with a boycotted country.

                                 Any request for information regarding boycotted countries or organizations must be
                                 immediately referred to Corporate Compliance Counsel.




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Conclusion
It is not possible to describe all unethical or illegal business practices in detail. The
best guidelines are individual conscience, common sense and unwavering
compliance with all company policies, applicable laws, regulations and contractual
obligations. Seek guidance if you are unsure of what to do, ask questions and report
wrongdoing. Company policy strictly forbids any retaliation against an employee who
reports suspected wrongdoing.

Violations of the law, the Code and other company policies, procedures, instructions,
practices and the like can lead to disciplinary action up to and including termination
of employment. Such disciplinary action may also be taken against supervisors or
executives who condone, permit or have knowledge of improper conduct or fail to
take action to prevent and detect violations, such as failure to provide training and
failure to supervise subordinates’ work. No one may justify an illegal or improper act
by claiming it was ordered by someone in higher management. The following are
examples of actions considered illegal or unacceptable:



•   Theft or unauthorized access, use or disclosure of company, customer or
    employee records, data, funds, property or information (whether or not it is
    proprietary);
•   Working under the influence of alcohol or illegal substances or abusing legal
    substances;

•   Improperly operating a vehicle for company business, or driving while on
    company business with a suspended or revoked license, or while under the
    influence of drugs or alcohol;

•   Using any program or promotion in an unauthorized manner;

•   Engaging in any form of workplace violence, including, but not limited to,
    any act of physical intimidation or assault, including threats of violence;

•   Soliciting or giving the impression that you would expect gifts or gratuities from
    suppliers or customers;

•   Disparaging or misrepresenting the company’s products or services or its
    employees;

•   Falsifying a company record, such as a time report; and

•   Misrepresenting your health status or other reasons for absence, such as
    misrepresenting yourself as disabled and receiving disability benefits.




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Sources of Help
Verizon provides many resources to help you make ethical decisions. In addition to your supervisor, you may
consult with Human Resources, the Legal Department or call the VZ Compliance Guideline.

Verizon’s VZWeb (Intranet), vzweb2.verizon.com, contains expansive helpful contact and subject matter
information. In addition, please reference the chart below for some important resources.


Quick Reference Chart

 Resource                        Phone Number              Website/Email
 VZ Compliance Guideline         844.VZ GUIDE              verizonguideline.com
                                 844.894.8433 (U.S.)       vzguide@verizon.com
 Office of Ethics and
 Business Conduct                (+)800.0.624.0007         aboutyou.verizon.com/HRGuidelines/
 (Ethics Office)                 (International)           VzCulture/EthicsCompliance


 Human Resources (U.S.)          Consult website           aboutyou.verizon.com/HRGuidelines


 Human Resources                 (+)800.0.932.7947         aboutyou.verizon.com/HRGuidelines
 (International)                 Vnet 932.7947


 Security (U.S.)                 800.997.3287              security.verizon.com

 Security (International)        972.615.4343              security.verizon.com,
                                                           Click “International Security”


 Corporate Compliance            Consult website           vzweb2.verizon.com/verizon-compliance


 Internal Audit                  844.VZ GUIDE              vzweb2.verizon.com/verizon-internal-audit
                                 844.894.8433 (U.S.)

                                 (+)800.0.624.0007
                                 (International)
 Privacy Office                  Consult website           vzweb2.verizon.com/verizon-privacy-office


 Environmental, Health &         800.386.9639 (U.S.)       aboutyou.verizon.com/HRGuidelines
 Safety                          (+)800.386.9639           /VzCulture/SafetyAndEnvironmentalCompli
                                 (International)           ance
                                                           https://vzweb2.verizon.com/compliance-
                                                           environment-health-safety-and-vehicles
                                                           (Wireless Network Environmental)

 Export Control                  Consult website           vzweb2.verizon.com/export-controls-
 Compliance                                                embargoes-and-sanctions-and-anti-
                                                           boycott-compliance




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 Resource                         Phone Number      Website
 Public Policy, Law &             Consult website   vzweb2.verizon.com/public-policy-law-and-
 Security                                           security-0

 Subpoenas & Court Orders         800.451.5242      security.verizon.com/Securitywebsite/
                                                    SecurityOrganizations/LegalCompliance/
                                                    LCContacts/tabid/455/Default.aspx
 Media Relations                  Consult website   verizon.com/about/news/media-contacts

 Investor Relations               Consult website   verizon.com/about/investors/
                                                    contact-investor-relations
 Corporate Responsibility         Consult website   responsibility.verizon.com
 (including Verizon Foundation)

 Employee Assistance              888.441.8674      anthem.com/eap/verizon
 Program (U.S.)
 Employee Assistance              Consult website   anthem.com/eap/global
 Program (International)




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